     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 1 of 9 Page ID #:1


 1   Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
     MANNING LAW, APC
 2   20062 SW Birch Street, Ste. 200
 3   Newport Beach, CA 92660
     Office: (949) 200-8755
 4   DisabilityRights@manninglawoffice.com
 5

 6   Attorney for Plaintiff: JAMES RUTHERFORD
 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     LWLL, LLC, a California limited
                                                  325).
18   liability company; and DOES 1-10,
     inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant LWLL, LLC, a California limited liability company; and Does 1-10
24
     (“Defendants”) and alleges as follows:
25
                                            PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
27
     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
                                                1
                                           COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 2 of 9 Page ID #:2


 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   LWLL, LLC, a California limited liability company, owned the property located at
11   9421 Foothill Blvd, Rancho Cucamonga, CA 91730 (“Property”) on or around May
12   24, 2020.
13          3.     Plaintiff is informed and believes and thereon alleges that LWLL, LLC,
14   a California limited liability company, owns the Property currently.
15          4.     Plaintiff does not know the true name of Defendant, its business
16   capacity, its ownership connection to the Property serving Wienerschnitzel
17   (“Business”), or its relative responsibilities in causing the access violations herein
18   complained of. Plaintiff is informed and believes that each of the Defendants herein,
19   including Does 1 through 10, inclusive, is responsible in some capacity for the
20   events herein alleged, or is a necessary party for obtaining appropriate relief.
21   Plaintiff will seek leave to amend when the true names, capacities, connections, and
22   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
23                               JURISDICTION AND VENUE
24          5.     This Court has subject matter jurisdiction over this action pursuant
25   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
26          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
27   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
28   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
                                                  2
                                             COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 3 of 9 Page ID #:3


 1   federal ADA claims in that they have the same nucleus of operative facts and
 2   arising out of the same transactions, they form part of the same case or controversy
 3   under Article III of the United States Constitution.
 4          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 5   real property which is the subject of this action is located in this district and because
 6   Plaintiff's causes of action arose in this district.
 7                                FACTUAL ALLEGATIONS
 8          8.     Plaintiff went to the Business on or about May 24, 2020 for the dual
 9   purpose of purchasing menu items and to confirm that this public place of
10   accommodation is accessible to persons with disabilities within the meaning federal
11   and state law.
12          9.     The Business is a facility open to the public, a place of public
13   accommodation, and a business establishment.
14          10.    Parking spaces are one of the facilities, privileges, and advantages
15   reserved by Defendants to persons at the Property serving the Business.
16          11.    Unfortunately, although parking spaces were one of the facilities
17   reserved for patrons, there were no designated parking spaces available for persons
18   with disabilities that complied with the 2010 Americans with Disabilities Act
19   Accessibility Guidelines (“ADAAG”) on May 24, 2020.
20          12.    At that time, instead of having architectural barrier free facilities for
21   patrons with disabilities, Defendants have: a slope of the curb ramp that flares at the
22   curb ramp connecting the accessible parking spaces to the accessible route exceeds
23   19% in violation of Section 406.3 (which requires that the slope does not exceed
24   10%); a curb ramp that appears to incline at much too steep an angle in violation of
25   Section 405.2 (which requires a maximum slope of 8.3%); noncompliant landings
26   (Landings shall be provided at the tops of curb ramps per Section 406.4. The landing
27   clear length shall be 36 inches (915 mm) minimum. The landing clear width shall be
28   at least as wide as the curb ramp, excluding flared sides, leading to the landing); and,
                                                  3
                                             COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 4 of 9 Page ID #:4


 1   no accessible routes connecting the parking to the main entrance or elements within
 2   the facility as required by Section 206.2.2 (which requires that at least one accessible
 3   route shall connect accessible buildings, accessible facilities, accessible elements,
 4   and accessible spaces that are on the same site, and 206.1 requiring access to the site
 5   arrival point (main entrance) from the public street).
 6         13.    Subject to the reservation of rights to assert further violations of law
 7   after a site inspection found infra, Plaintiff asserts there are additional ADA
 8   violations which affect him personally.
 9         14.    Plaintiff is informed and believes and thereon alleges Defendants had
10   no policy or plan in place to make sure that there was compliant accessible parking
11   reserved for persons with disabilities prior to May 24, 2020.
12         15.    Plaintiff is informed and believes and thereon alleges Defendants have
13   no policy or plan in place to make sure that the designated disabled parking for
14   persons with disabilities comport with the ADAAG.
15         16.    Plaintiff personally encountered these barriers. The presence of these
16   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
17   conditions at public place of accommodation and invades legally cognizable
18   interests created under the ADA.
19         17.    The conditions identified supra in paragraph 12 are necessarily related
20   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
21   the major life activities of walking, standing, ambulating, sitting, in addition to
22   twisting, turning and grasping objects; Plaintiff is the holder of a disabled parking
23   placard; and because the enumerated conditions relate to the use of the accessible
24   parking, relate to the slope and condition of the accessible parking and accessible
25   route to the accessible entrance, and relate to the proximity of the accessible parking
26   to the accessible entrance.
27         18.    As an individual with a mobility disability who at times relies upon a
28   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
                                                 4
                                            COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 5 of 9 Page ID #:5


 1   accommodations have architectural barriers that impede full accessibility to those
 2   accommodations by individuals with mobility impairments.
 3          19.      Plaintiff is being deterred from patronizing the Business and its
 4   accommodations on particular occasions, but intends to return to the Business for the
 5   dual purpose of availing himself of the goods and services offered to the public and
 6   to ensure that the Business ceases evading its responsibilities under federal and state
 7   law.
 8          20.      Upon being informed that the public place of accommodation has
 9   become fully and equally accessible, he will return within 45 days as a “tester” for
10   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
11   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
12          21.      As a result of his difficulty experienced because of the inaccessible
13   condition of the facilities of the Business, Plaintiff was denied full and equal access
14   to the Business and Property.
15          22.      The Defendants have failed to maintain in working and useable
16   conditions those features required to provide ready access to persons with
17   disabilities.
18          23.      The violations identified above are easily removed without much
19   difficulty or expense. They are the types of barriers identified by the Department of
20   Justice as presumably readily achievable to remove and, in fact, these barriers are
21   readily achievable to remove. Moreover, there are numerous alternative
22   accommodations that could be made to provide a greater level of access if complete
23   removal were not achievable.
24          24.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
25   alleges, on information and belief, that there are other violations and barriers in the
26   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
27   notice regarding the scope of this lawsuit, once he conducts a site inspection.
28   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
                                                  5
                                             COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 6 of 9 Page ID #:6


 1   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 2   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 3   have all barriers that relate to his disability removed regardless of whether he
 4   personally encountered them).
 5         25.    Without injunctive relief, Plaintiff will continue to be unable to fully
 6   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 7                               FIRST CAUSE OF ACTION
 8   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 9     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
10                                        (P.L. 110-325)
11         26.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
12   above and each and every other paragraph in this Complaint necessary or helpful to
13   state this cause of action as though fully set forth herein.
14         27.    Under the ADA, it is an act of discrimination to fail to ensure that the
15   privileges, advantages, accommodations, facilities, goods, and services of any place
16   of public accommodation are offered on a full and equal basis by anyone who owns,
17   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
18   Discrimination is defined, inter alia, as follows:
19                a.     A failure to make reasonable modifications in policies, practices,
20                       or procedures, when such modifications are necessary to afford
21                       goods, services, facilities, privileges, advantages, or
22                       accommodations to individuals with disabilities, unless the
23                       accommodation would work a fundamental alteration of those
24                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
25                b.     A failure to remove architectural barriers where such removal is
26                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
27                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
28                       Appendix "D".
                                                 6
                                            COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 7 of 9 Page ID #:7


 1                   c.    A failure to make alterations in such a manner that, to the
 2                         maximum extent feasible, the altered portions of the facility are
 3                         readily accessible to and usable by individuals with disabilities,
 4                         including individuals who use wheelchairs, or to ensure that, to
 5                         the maximum extent feasible, the path of travel to the altered area
 6                         and the bathrooms, telephones, and drinking fountains serving
 7                         the area, are readily accessible to and usable by individuals with
 8                         disabilities. 42 U.S.C. § 12183(a)(2).
 9         28.       Any business that provides parking spaces must provide accessible
10   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
11   shall be at the same level as the parking spaces they serve. Changes in level are not
12   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
13   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
14   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
15   designated disabled parking space is a violation of the law and excess slope angle in
16   the access pathway is a violation of the law.
17         29.       A public accommodation must maintain in operable working condition
18   those features of its facilities and equipment that are required to be readily accessible
19   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
20         30.       Here, the failure to ensure that accessible facilities were available and
21   ready to be used by Plaintiff is a violation of law.
22         31.       Given its location and options, Plaintiff will continue to desire to
23   patronize the Business but he has been and will continue to be discriminated against
24   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
25   the barriers.
26                                SECOND CAUSE OF ACTION
27       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
28         32.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
                                                  7
                                              COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 8 of 9 Page ID #:8


 1   above and each and every other paragraph in this Complaint necessary or helpful to
 2   state this cause of action as though fully set forth herein.
 3         33.    California Civil Code § 51 et seq. guarantees equal access for people
 4   with disabilities to the accommodations, advantages, facilities, privileges, and
 5   services of all business establishments of any kind whatsoever. Defendants are
 6   systematically violating the UCRA, Civil Code § 51 et seq.
 7         34.    Because Defendants violate Plaintiff’s rights under the ADA,
 8   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 9   52(a).) These violations are ongoing.
10         35.    Plaintiff is informed and believes and thereon alleges that Defendants’
11   actions constitute discrimination against Plaintiff on the basis of a disability, in
12   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
13   previously put on actual or constructive notice that the Business is inaccessible to
14   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
15   inaccessible form, and Defendants have failed to take actions to correct these
16   barriers.
17                                          PRAYER
18   WHEREFORE, Plaintiff prays that this court award damages provide relief as
19   follows:
20         1.     A preliminary and permanent injunction enjoining Defendants from
21   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
22   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
23   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
24   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
25   under the Disabled Persons Act (Cal. C.C. §54) at all.
26         2.     An award of actual damages and statutory damages of not less than
27   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
28         3.     An additional award of $4,000.00 as deterrence damages for each
                                                 8
                                            COMPLAINT
     Case 5:20-cv-01240-DSF-SHK Document 1 Filed 06/19/20 Page 9 of 9 Page ID #:9


 1   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 2   LEXIS 150740 (USDC Cal, E.D. 2016); and,
 3         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 4   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 5

 6                               DEMAND FOR JURY TRIAL
 7         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 8   raised in this Complaint.
 9

10   Dated: June 19, 2020             MANNING LAW, APC
11

12                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
13                                       Attorney for Plaintiff
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                9
                                           COMPLAINT
